       Case 3:18-cv-00445 Document 12 Filed on 03/14/19 in TXSD Page 1 of 2



                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

 CHRIS REMPFER,

      Plaintiff,
                                                         Case No: 3:18-cv-00445
 v.
                                                         Honorable Judge George C. Hanks, Jr.
 EMONEYUSA HOLDINGS, LLC,

      Defendants.


                                     NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that CHRIS REMPFER (“Plaintiff”) and EMONEYUSA

HOLDINGS, LLC (“Defendant”), hereby notify the Court that the Parties have settled all claims

between them in this matter and are in the process of completing the final closing documents and

filing the dismissal. The Parties anticipate on filing a stipulation of dismissal with prejudice within

45 days.

Respectfully submitted this 14th day of March, 2019.

                                                               Respectfully submitted,

                                                               s/ Mohammed O. Badwan
                                                               Mohammed O. Badwan
                                                               Sulaiman Law Group, Ltd.
                                                               2500 S. Highland Ave., Ste. 200
                                                               Lombard, IL 60148
                                                               Phone: (630) 575-8180
                                                               mbadwan@sulaimanlaw.com
                                                               Counsel for Plaintiff




                                                  1
     Case 3:18-cv-00445 Document 12 Filed on 03/14/19 in TXSD Page 2 of 2



                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.


                                                              s/ Mohammed O. Badwan_____




                                                  2
